AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet I



                                            UNITED STATES DISTRICT COURT
                                                        Eastern District of North Carolina
                                                                            )
              UNITED STATES OF AMERICA                                      )      JUDGMENT IN A CRIMINAL CASE
                                    V.                                      )
                    JOHNNY EARL JORDAN                                      )
                                                                                   Case Number: 2:21-CR-00005-SD
                                                                            )
                                                                            )      USM Number: 34763-509
                                                                            )
                                                                            )       Thomas H. Johnson, Jr.
                                                                            )      Defendant' s Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)             1 and 9 of the Indictment
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended
21 U.S.C. § 841 (a)(1 ),           Conspiracy to Distribute and Possession With Intent to                   6/12/2020
21 U.S.C. § 841 (b)(1 )(C)         Distribute a Quantity of Cocaine and Cocaine Base (Crack)
and 21 U.S.C. § 846


       The defendant is sentenced as provided in pages 2 through           _ _8_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                                Dis        Dare dismissed on the motion of the United States.
                - - - - - - - - - -- - -
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           11/3/2021
                                                                          Date of Impos ition of Judgment




                                                                           JAMES C. DEVER Ill , UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                           11/3/2021
                                                                          Date




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                         Sheet IA
                                                                                             Judgment-Page _ _ of - ~ - -
DEFENDANT: JOHNNY EARL JORDAN
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                                             ADDITIONAL COUNTS OF CONVICTION
Title & Section                    Nature of Offense                                     Offense Ended     Count
21 U.S.C. § 841(a)(1),              Distribution of a Quantity of Cocaine Base (Crack)    6/12/2020         9
21 U.S.C. § 841(b)(1)(C)




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                      Sheet 2 - Imprisonment

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                                                             IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 Counts 1 and 9: 72 months on each count, to be served concurrently




      ~ The court makes the following recommendations to the Bureau of Prisons:
        The court recommends the defendant participate in vocational and educational opportunities and intensive substance
        abuse treatment. The court also recommends placement as close as possible to Warren , Ohio: FCI Elkton.




      Ill   The defendant is remanded to the custody of the United States Marshal.

      D     The defendant shall surrender to the United States Marshal for this district:

            D   at                                D a.m.        D p.m.       on

            D as notified by the United States Marshal.

      D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D   before 2 p.m. on

            D   as notified by the United States Marshal.

            D   as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
 I have executed this judgment as follows :




            Defendant delivered on                                                          to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                    UNITED ST ATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UN ITED STATES MARSHAL




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                        Sheet 3 - Supervised Release
                                                                                                        Judgment-Page _ _ _ of
DEFENDANT: JOHNNY EARL JORDAN
CASE NUMBER: 2:21-CR-00005-5O
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised re lease for a term of:

 Counts 1 and 9: 3 years , to run concurrently




                                                       MANDATORY CONDITIONS
l.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (che ck if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.     [i1 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 2090 l , et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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                        Sheet 3A - Supervised Release
                                                                                                                      s
                                                                                                Judgment-Page _ _ _ __ or _ _ _cc.__ _    8
DEFENDANT: JOHNNY EARL JORDAN
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                                        ST AND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive in structions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view .
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. lfyou do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony , you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm , ammunition , destructive device, or dangerous weapon (i .e., anything that was
       designed , or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers) .
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the ri sk.
13 .   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, avai lable at: www .uscourts. gov.


Defendant's Signature                                                                                      Date _ _ _ _ _ _ _ _ _ _ __




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                         Sheet 3D - Supervised Release
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DEFENDANT: JOHNNYEARLJORDAN
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                                           SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall consent to a warrantless search by a United States Probation Officer or, at the request of the
 probation officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to
 determine compliance with the conditions of this judgment.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall support his dependent(s).




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AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet S - Criminal Monetary Penalties
                                                                                                        Judgment- Page       7    of        8
 DEFENDANT: JOHNNY EARL JORDAN
 CASE NUMBER: 2:21-CR-00005-5D
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment               Restitution             Fine                    AV AA Assessment*           JVT A Assessment**
 TOTALS            $ 200.00                  $                      $                        $                           $



 D The determination of restitution is deferred until           -----
                                                                           . An Amended Judgment in a Criminal Case (A O 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U .S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid .

 Name of Payee                                                  Total Loss***                Restitution Ordered         Priority or Percentage




 TOTALS                                $                         0.00           $                      0 .00
                                                                                    ----------

 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 36 I 2(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the abi lity to pay interest and it is ordered that:

       D the interest requirement is waived for the             D fine     D restitution .
       D the interest requirement for the            D fine      D restitution is modified as follows:

 * Amy, Vickyi ~nd Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters I 09A, 110, 1 I OA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23 , 1996.


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AO 245B (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 6 - Schedule of Payments

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                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows :

 A      •     Lump sum payment of$                              due immediately, balance due


              •     not later than                                  , or
              •     in accordance with
                                           •    C,    •    D,
                                                                •    E, or    D F below; or
 B      •     Payment to begin immediately (may be combined with             • c,     D D,or       D F below); or

 C      D Payment in equal             _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of $ ____ over a period of
                              (e .g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D      D Payment in equal            _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                              (e.g., months or years), to commence _ _ _ _ _ (e .g. , 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E      D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.,         30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that time; or

 F      Ill   Special instructions regarding the payment of criminal monetary penalties:
              The special assessment in the amount of $200.00 shall be due in full immediately.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D      Joint and Several

        Case Number
        Defendant and Co-Defendant Names                                                Joint and Several               Corresponding Payee,
        (including defendant number)                        Total Amount                     Amount                         if appropriate




 D      The defendant shall pay the cost of prosecution.

 D      The defendant shall pay the following court cost(s):

 i;zJ   The defendant shall forfeit the defendant' s interest in the following property to the United States:
        The defendant shall forfeit to the United States the defendant's interest in the property specified in the Order of
        Forfeiture entered on November 1, 2021 .

 Payments shall be a_pplied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
 (5) fine principal, (o) fine interest, (7) community restitution, (8) JVT A assessment, (9) penalties, and (I 0) costs, including cost of
 prosecution and court costs.


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